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                                                            U.S. Department of Justice

                                                            United States Attorney

                                                            Eastern District of Pennsylvania

.\!aria M. Carrillo                                         615 Chestnut Street
Direct Dial: 1215) 861-8401                                 Suite 1250
Facsimile: (215) 861- 8618                                  Philadelphia, Pennsylvania 19106-4476
E-mail Address:maria.carrillo@usdoj.gov                     (215) 861-8200


                                                            October 17, 2016


Honorable Paul S. Diamond
Judge, United States District Court
                                                    FILED
6613 United States Courthouse                       !   I    1
                                                                 !   8 2016
601 Market Street                                                                                   VIA EMAIL
Philadelphia, PA 19106-1744                    LUCY v. CH:N. Interim Clerk
                                               By               Oep. Clert<
                    Re: United States v. Maurice, VOSR. Criminal Nos. 07-597 & 08-233-.- (:', ~
                                                                                            ~
Dear Judge Diamond:

        This case is scheduled for a VOSR hearing for tomorrow, October 18, 2016. The
primary basis for the VOSR petition is a new state criminal charge. The government has
recently received confirmation that the state criminal charge is not being pursued.
Accordingly, the government, together with U.S. Probation, requests that the petition be
dismissed.

         Ross Thompson, counsel for the defendant consents to this request.


                                                        Very truly yours,

                                                            ZANE DAVID MEMEGER
                                                            United States Attorney

                                                        s/Maria M. Carrillo
                                                        MARIA M. CARRILLO
                                                        Assistant United States Attorney




cc:    Ross Thompson, Esquire (Assistant Federal Defender); Kenneth Bergman, U.S.
Probation
